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Co-Counsel to the Defendant Han Benefit Advantage, Inc.

                              UNITED STATES BANKRUPTCY COURT
                                   DISTRICT OF NEW JERSEY


In re:                                                   Chapter 7

HEALTH TECH HARBOR, INC.,                                Case No. 20-19017 (RG)

                           Debtor.


In re:
                                                         Adv. Pro. No. 21-01278 (RG)
HEALTH TECH HARBOR, INC.,

                           Plaintiff,
v.

HAN BENEFIT ADVANTAGE INC D/B/A
BENADVANCE,

                           Defendant.


                              PLEADINGS ACCOMPANYING NOTICE
                          OF REMOVAL OF STATE COURT CIVIL ACTION


                    The attached docket and pleadings are submitted pursuant to D.N.J. LBR 9027-

1(c) by Defendant Han Benefit Advantage, Inc. in connection the Notice of Removal of State
40363/2
05/21/2021 209122508 .2
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Court Civil Action to Bankruptcy Court [Doc. No. 1] (the “Notice of Removal”). The attached

docket and pleadings relate to the Civil Action previously pending in the Superior Court of New

Jersey, Bergen County, Case No. BER-L-2665-21, which was removed to the United States

Bankruptcy Court for the District of New Jersey pursuant to 28 U.S.C. § 1452, Fed. R. Bankr. P.

9027 and D.N.J. LBR 9027-1, filed on May 21, 2021.

Dated: May 21, 2021                        Respectfully submitted,

                                           LOWENSTEIN SANDLER LLP
                                           /s/ Joseph J. DiPasquale_______
                                           Joseph J. DiPasquale, Esq.
                                           Arielle B. Adler, Esq.
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                                           Co-Counsel to the Defendant
                                           Han Benefit Advantage, Inc.




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                               Attachment No. 1




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   BER-L-002665-21 04/21/2021 4:19:52 PM Pg 1 of 11 Trans ID: LCV20211025300
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   BER-L-002665-21 04/21/2021 4:19:52 PM Pg 2 of 11 Trans ID: LCV20211025300
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                           Document      Page 5 of 19
   BER-L-002665-21 04/21/2021 4:19:52 PM Pg 3 of 11 Trans ID: LCV20211025300
Case 21-01278-RG   Doc 2   Filed 05/25/21 Entered 05/25/21 10:53:06    Desc Main
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   BER-L-002665-21 04/21/2021 4:19:52 PM Pg 4 of 11 Trans ID: LCV20211025300
Case 21-01278-RG   Doc 2   Filed 05/25/21 Entered 05/25/21 10:53:06    Desc Main
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   BER-L-002665-21 04/21/2021 4:19:52 PM Pg 5 of 11 Trans ID: LCV20211025300
Case 21-01278-RG   Doc 2   Filed 05/25/21 Entered 05/25/21 10:53:06    Desc Main
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   BER-L-002665-21 04/21/2021 4:19:52 PM Pg 6 of 11 Trans ID: LCV20211025300
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                        Civil Case Information Statement
Case Details: BERGEN | Civil Part Docket# L-002665-21

Case Caption: HEALTH TECH HARBOR, INC. VS HAN                    Case Type: BOOK ACCOUNT (DEBT COLLECTION MATTERS
BENEFIT ADVANTA                                                  ONLY)
Case Initiation Date: 04/21/2021                                 Document Type: Complaint
Attorney Name: MITCHELL J MALZBERG                               Jury Demand: NONE
Firm Name: MITCHELL J. MALZBERG, LLC                             Is this a professional malpractice case? NO
Address: 6 EAST MAIN ST STE 7 PO BOX 5122                        Related cases pending: NO
CLINTON NJ 08809                                                 If yes, list docket numbers:
Phone: 9083232958                                                Do you anticipate adding any parties (arising out of same
Name of Party: PLAINTIFF : Health Tech Harbor, Inc.              transaction or occurrence)? NO
Name of Defendant’s Primary Insurance Company
(if known): Unknown                                              Are sexual abuse claims alleged by: Health Tech Harbor, Inc.? NO




      THE INFORMATION PROVIDED ON THIS FORM CANNOT BE INTRODUCED INTO EVIDENCE
                      CASE CHARACTERISTICS FOR PURPOSES OF DETERMINING IF CASE IS APPROPRIATE FOR MEDIATION




Do parties have a current, past, or recurrent relationship? YES
If yes, is that relationship: Business
Does the statute governing this case provide for payment of fees by the losing party? NO
Use this space to alert the court to any special case characteristics that may warrant individual
management or accelerated disposition:


Do you or your client need any disability accommodations? NO
       If yes, please identify the requested accommodation:


Will an interpreter be needed? NO
         If yes, for what language:


Please check off each applicable category: Putative Class Action? NO Title 59? NO Consumer Fraud? NO




I certify that confidential personal identifiers have been redacted from documents now submitted to the
court, and will be redacted from all documents submitted in the future in accordance with Rule 1:38-7(b)

04/21/2021                                                                                   /s/ MITCHELL J MALZBERG
Dated                                                                                                           Signed
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                                Attachment No. 2




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           BER L 002665-21 04/22/2021 4:19:49 AM Pg 1 of 1 Trans ID: LCV20211027144
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BERGEN COUNTY COURTHOUSE
SUPERIOR COURT LAW DIV
BERGEN COUNTY JUSTICE CTR RM 415
HACKENSACK       NJ 07601-7680
                                              TRACK ASSIGNMENT NOTICE
COURT TELEPHONE NO. (201) 221-0700
COURT HOURS 8:30 AM - 4:30 PM

                             DATE:   APRIL 21, 2021
                             RE:     HEALTH TECH HARBOR,    INC.   VS HAN BENEFIT ADVANTA
                             DOCKET: BER L -002665 21

      THE ABOVE CASE HAS BEEN ASSIGNED TO:    TRACK 1.

     DISCOVERY IS   150 DAYS AND RUNS FROM THE FIRST ANSWER OR 90 DAYS
FROM SERVICE ON THE FIRST DEFENDANT, WHICHEVER COMES FIRST.

      THE PRETRIAL JUDGE ASSIGNED IS:    HON PETER G. GEIGER

       IF YOU HAVE ANY QUESTIONS, CONTACT TEAM       002
AT:   (201) 527-2600.

      IF YOU BELIEVE THAT THE TRACK IS INAPPROPRIATE YOU MUST FILE A
 CERTIFICATION OF GOOD CAUSE WITHIN 30 DAYS OF THE FILING OF YOUR PLEADING.
      PLAINTIFF MUST SERVE COPIES OF THIS FORM ON ALL OTHER PARTIES IN ACCORDANCE
WITH R.4:5A-2.
                            ATTENTION:
                                             ATT: MITCHELL J. MALZBERG
                                             MITCHELL J. MALZBERG, LLC
                                             6 EAST MAIN ST STE 7
                                             PO BOX 5122
                                             CLINTON          NJ 08809

ECOURTS
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                                Attachment No. 3




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                                                                Case Summary
Case Number: BER L-002665-21
Case Caption: Health Tech Harbor, Inc. Vs Han Benefit Advanta
Court: Civil Part                                        Venue: Bergen                                 Case Initiation Date: 04/21/2021
Case Type: Book Account (Debt Collection Matters         Case Status: Active                           Jury Demand: None
Only)
Case Track: 1                                            Judge: Peter G Geiger                         Team: 2
Original Discovery End Date:                             Current Discovery End Date:                   # of DED Extensions: 0
Original Arbitration Date:                               Current Arbitration Date:                     # of Arb Adjournments: 0
Original Trial Date:                                     Current Trial Date:                           # of Trial Date Adjournments: 0
Disposition Date:                                        Case Disposition: Open                        Statewide Lien:

Plaintiffs
Health Tech Harbor,Inc.
Party Description: Business                                                                            Attorney Name: Mitchell J Malzberg
Address Line 1: 200 Murray Hill Parkway                              Address Line 2:                   Attorney Bar ID: 016641993

City: East Rutherford             State: NJ                          Zip: 07073                        Phone:

Attorney Email: MMALZBERG@MJMALZBERGLAW.COM

Defendants
Han Benefit Advantage, Inc. AKA Benadvance
Party Description: Business                                                                            Attorney Name:
Address Line 1: 411 Theo Fremd Avenue, Suite 132                     Address Line 2:                   Attorney Bar ID:

City: Rye                         State: NY                          Zip: 10580                        Phone:
Attorney Email:
Case Actions
Filed Date        Docket Text                                                                    Transaction ID           Entry Date
                  Complaint for BER-L-002665-21 submitted by MALZBERG, MITCHELL J, MITCHELL J.
04/21/2021        MALZBERG, LLC on behalf of HEALTH TECH HARBOR, INC. against HAN BENEFIT        LCV20211025300           04/21/2021
                  ADVANTAGE, INC.
04/22/2021        TRACK ASSIGNMENT Notice submitted by Case Management                           LCV20211027144           04/22/2021
